Case 1:20-cv-01814-JLT-EPG Document 111-7 Filed 12/16/22 Page 1 of 3




                                 EXHIBIT 7
    Case 1:20-cv-01814-JLT-EPG Document 111-7 Filed 12/16/22 Page 2 of 3

From:            Bartell, Stephen (ENRD)
To:              Thane D. Somerville; Thomas P. Schlosser; Joe Membrino
Cc:              Thomas, Jeffrey Scott (ENRD); Brown, Carter L; Bergstrom, Scott A
Subject:         Hoopa Valley litigation
Date:            Thursday, December 15, 2022 3:07:44 PM
Attachments:     image002.png


Thane, Tom, and Joe:

I’m writing in response to the Tribe’s December 14, 2022 letter to the Secretary. Our previous
understanding, based on our call on December 12, was that the Tribe requested that Interior
commit to not proceeding with implementation of the Trinity River winter flow variability (“winter
flows”), which could occur as early as December 15, or the Tribe would file a motion for a TRO. We
had hoped to address your immediate concerns and obviate briefing through a TRO by committing
to not implement the winter flows without providing notice to the Tribe at least 3 business days in
advance. We now understand based on your December 14 letter that the Tribe’s position is that it
wants advance notice, and the opportunity for concurrence, before a decision is made, not just
notice that the winter flows will be implemented.

As the parties agree that it is not in anybody’s benefit to attempt to address the Tribe’s concerns
through an expedited motion for a TRO, the Interior Department advises that it is considering the
Tribe’s December 14 letter, and is willing to commit to give the Tribe at least 5 business days notice
before any decision is made with respect to the Trinity River Council’s vote to recommend the winter
flows, and at least 10 business days notice before the implementation of any such decision.

We hope this commitment will allow the Tribe to forego filing a motion for a TRO this week. We
propose scheduling a meeting for early next week to further discuss the Tribe’s request, including –
should the Tribe not accept our proposal – negotiating a briefing schedule on a PI, rather than a TRO.

Finally, although we already filed our motion for an extension of time for a fourteen-day extension
to file our responsive pleading to the Tribe’s amended complaint, we again request your position on
our request.

I look forward to hearing back from you at your earliest convenience.

Steve




        Stephen G. Bartell, Assistant Chief
              Natural Resources Section
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        P.O. Box 7611                           4 Constitution Square
    Case 1:20-cv-01814-JLT-EPG Document 111-7 Filed 12/16/22 Page 3 of 3

        Washington, DC 20044-7611      150 M Street NE, Suite 3.1611
                                       Washington, DC 20001

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